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                            UNITED STATES DISTRICT COURT

                  FOR THE SOUTHERN DISTRICT OF NEW YORK



STATE OF NEW YORK; STATE OF ARIZONA;
STATE OF CALIFORNIA; STATE OF
COLORADO; STATE OF CONNECTICUT;
STATE OF DELAWARE; STATE OF HAWAII;
STATE OF ILLINOIS; STATE OF MAINE;
STATE OF MARYLAND; COMMONWEALTH                      Case No. 1:25-cv-01144 (JAV)
OF MASSACHUSETTS; STATE OF
MINNESOTA; STATE OF NEVADA; STATE OF                 MOTION FOR ADMISSION
NEW JERSEY; STATE OF NORTH CAROLINA;                 PRO HAC VICE
STATE OF OREGON; STATE OF RHODE
ISLAND; STATE OF VERMONT; and STATE OF
WISCONSIN,

              Plaintiffs,

       v.

DONALD J. TRUMP, IN HIS OFFICIAL
CAPACITY AS PRESIDENT OF THE UNITED
STATES; U.S. DEPARTMENT OF THE
TREASURY; and SCOTT BESSENT, IN HIS
OFFICIAL CAPACITY AS SECRETARY OF U.S.
DEPARTMENT OF THE TREASURY,

              Defendants.




     Pursuant to Rule 1.3 of the Local Rules of the United States Courts for the Southern

and Eastern Districts of New York, I, John D. Echeverria, hereby move this Court for an

Order for admission to practice Pro Hac Vice to appear as counsel for Plaintiff State of

California in the above-captioned action.

     I am in good standing of the bar of the State of California, and there are no pending

disciplinary proceedings against me in any state or federal court. I have never been


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convicted of a felony. I have never been censured, suspended, disbarred or denied

admission or readmission by any court. I have attached the declaration pursuant to Local

Rules 1.3 and 1.9.

Dated: February 24, 2025                    Respectfully submitted,


                                                s/ John D. Echeverria
                                            JOHN D. ECHEVERRIA
                                             Supervising Deputy Attorney General
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                                            Attorney for Plaintiff State of California




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